    L .J
 .
      Case 0:21-cr-60039-AHS Document 107 Entered on FLSD Docket 07/20/2022 Page 1 of 8
          .                                                                                                                                                                $
4
,-k,k                                      U NITED STATES D ISTRICT C OIJRT
) :.                                                                                                                                                                       j
)
) . -                .                            SOUTHER N DISTRICT OF FLOD                  A                                                       ' '' - t.    .


l''
''
                                                     FORT LAUDERDALE Dlvlslox                                                     ' ' *' ' -
                                                                                                                                                                   'j
                                                                                                                                                     ê'*-'''-''--'-''''---1
     (. ''
     v.                                                                                                               .
          .1
    .'

     UV Y/D STATESOFAMERICA                                                      JUDGM ENT IN A CRIMIXAL'CASE ' 'i
'

                                                                                                                                            .
                                                                                                                                            . ,
                                                                                                                                               ', :y
     Y, )..q-.                                                                                                                              L: .
                                                                                                                                            .   .. J'
                                                                                                                                                    L!
                                                                                                                                                     .
     ' .
      )        r     .
                                                                                 CaseN= ber:0:2i-CR-60ù39-AHS(ii7è''''''
     jHANTE/ A pwuxEs                                                            U SM N um ber:'23124-509                                   ':

                                                                                 CounselforDefendant:M anuelGonzalez
                                                                                 CounselforUnitedStates:BrookeLatta .
,,..
 ! ('... ..'                                                                                        '                         ..''. .
.( '
TH E D EFEN DA NT :
     (
     Xl pleadedguiltytocountts) -                                  1and2oftheSu ersedin Indictment                        '                                    '
     ' pleadedguiltytocountts)beforeaU.S.Magistrate
                   Jud e,whichwasacce ted b thecouM.                                                                                                 -
                   pleadednolocontenderetocountts)whichwas                                                        .                          . ...,..:
                                                                                                                                                     .
                                                                                                                                                     ,,
 .,                acce.ted b thecour
                                  .
                                     t                                                                                        .
                                                                                                                                    .
                                                                                                                                        .
                                                                                                                                            (,
                                                                                                                                            :
                                                                                                                                                ..           ...


gI
 EEI wasfoundguiltyoncountts)afterapleaofnotguilty                                   .                                    . .

Thedefendantisadjudicatedguiltyoftheseoffenses:
     Title& Section /N atureofO ffense                                                              O ffenseEnded
     18U.S.C.j 1594(c)ConspirécytoCommitSexTrafficking                                              08/2020      '.
     18U.S.C.j 1591(a)(1)SexTraffickingofaMinor                                                     08/2020




Thedefendantissentencedasproyidedinpages2through8ofthisjudgment.ThesentenceisimposedpursuanttotheSentencing
Reform Actof1984.

     EEI Thedefendanthasbeenfoundnotguiltyoncountts)
     Zl Countts) EEIis IZI aredismissedonthemotionoftheUnitedStates
                    Itisordered thatthedefendantmustnotify theUnited Statesatlorney forthisdistrictwithin30daysofany changeofname,
residence,ormailingaddressuntila11fmes,restitution,costs,andspecialassessmentsimposedbythisjudgmentarefullypaid.lf
orderedtopayrestitution,thedefendantmustnotifythecourtandUnited Statesatlorney ofmaterialchangesin econom ic
circum stances.

                                                                     Julv 19.2022
                                                                     DateofIm positionofJudgm ent
                                                                                         N



                                                                    A gnatureofJudge                t
                                                                     RAA G SG GH AL
                                                                     UN ITED STATES DISTRICT JIJD GE
                                                                     NameandTitleofJudge

                                                                     /
                                                                     Dae
                                                                                                                                                                       -
     Case 0:21-cr-60039-AHS Document 107 Entered on FLSD Docket 07/20/2022 Page 2 of 8
    AU'245B.
           tR& .FLSD 2/20)JudgmentinaCriminalCase                                                               Judgment--Page2 of8

DEFENDANT:                         SHANTERIA BARNES
CA SE N UM BER:                    0:21-CR-60039-AHS(1)
                                                               IM PR TSO N M EN T
'
thedefendantishereby committedto thecustodyoftheUnited StatesBureau ofPrisonstobeimprisonbdforatotaltenm of:
234 M onthiastoCounts1and 2oftheSupersedingIndictm enttorun Concurrently with each other.

    I
    Z       Thecoul'
                   tmakesthefollowingrecommendationstotheBureauofPrisons:
                 Thedefendantbedesignated toafacility in theSouthern DistrictofFlorida.


    E
    ZI ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
    EEI ThedefendaùtshallsurrendertotheUnitedStatesMarshalforthisdistrict:

                  EZ at                                      Z1 a.m.        EEI p.m .   on

                  EEI asnotifiedbytheUnitedStatesMarshal.

    EEI ThedefendantshallsurrenderforservicbofsentenceattheinstitutiondesignatedbytheBureauofPrisons:

                  EEI before2p.m.on
                  (71 '
                      asnotifiedbytheUnitedStatesMarshal.
                  (Z1 asnotitiedbytheProbationorPretrialServicesOftice.


                                                                     R E TU R N
1haveexecutedthisjudgmentasfollows:

                 Defendantdelivered on .i.;
                                          L;,
                                            !
                                            .:
                                             t
                                            .'
                                             -j'. .' .';..).
                                                         ... 2u
                                                              ?'   - .-
                                                                      .c..to


           .:T.,,.à:E:'ï '. 1 't;)( . 5
        .   ,.      .. '
at..:,
     .'. -
         :''       ..
                    ,t
                     i,.
                       ':w.
                          kr,7.
                              ,.,
                                .L.?,
                                    )p:j
                                       (,
                                        .
                                        qj
                                         )
                                         ;
                                         ,,
                                          $
                                          j'
                                           .;
                                            t
                                            .,withacertifiedcopyOfthisjudgment.



                                                                                             UNITED STATES MARSHAL

                                                                                                      By
                                                                                         bEPUTY UNITED STATESMARSHXL
  Case 0:21-cr-60039-AHS Document 107 Entered on FLSD Docket 07/20/2022 Page 3 of 8
 AO 2458 (Rev,FLSD 2/20)JudgmentinaCriminalCase                                                   Judgment- Page3of8

DEFENDXNT:             SH ANTERIA BA RNES
CA SE N UM BER:        0:21-CR-60039-AHS(1)
                                         SU PER V ISED R E LEA SE
Up
 'on rçleasefrom imprisonment,thedefendantshallbeonsupervised releaseforaterm of: LIFE astoCounts
                                                                                                '1and 2 oftàe '
SupersedingTndictmentto run Concurrently'with each other.                                             '.'.k'.'
                                                                                                             ..''


                                      M A N D A T O R Y C O N D ITIO N S

     Youmustnotcommitanotherfederal,stateorlocalcrime.
     Youmustnotunlawfullypossessacontrolledsubstance.
     You mustrefrain from any unlawfuluseofacontrolled substance.Youmustsubm itto one(lrug testwithin 15daysofrelease
     from imprisonmentandatleasttwo periodicdrugteststhereafter,asdeterl
                                                                       ninedby thecourt.
         (44(
            j Theabovedrugtestingconditionissuspended,basedonthecourt' sdeterminationthatyouposea1ow riskoffumre
              substanceabuse.(checkfapplicable)
     (D Youmustmakerestitutioninaccordancewith 18U.S.C.j53663and3663A oranyotherstatmeauthorizingasentence
         ofrestitution,(checkfapplicable)
     = YoumustcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(checkfapplicable)
     (gl YoumustcomplywiththerequirementsoftheSexOffenderRegistraiionandNotificationAct(34U.S.C.j20901,et
         seq.)asdirectedbytheprobationofficer,theBureauofPrisons,oranystatesexoffenderregistrationagencyinwhich
         youreside?work,areastudent,orwereconvictedofaqualifyingoffense.(checkf/.'applicable)
         Youmustparticipateinanapprovedprogram fordomesticviolence.(checkfapplicable)
          Youmustcomply withthestandard conditionsthathavebeen adopted bythiscourtaswellaswith any additional
 conditionsontheattachedpage.
        Case 0:21-cr-60039-AHS Document 107 Entered on FLSD Docket 07/20/2022 Page 4 of 8
 '
'
    AO 245B'
           yRev.FLSD 2/20)JudgmentinaCriminalCase                                                    Judgment--Page4 of8
), '

II:FENDANT:               SHANTERIA BARNES
CX'
  :
.. .
    j/NUMBER:
            .
                          0:21-CR-60039-AHS(1)
                             STA N D A R D C O N D ITIO N S O F SU PER V ISIO N
Asrpài'tofyoursupervisedrelease,youmustcomply with thefollowing standardconditionsofsupervision.Thekecopditioh'
                                                                                                              sarç
ilùiltls8dbecausetheyestablishthebasicexpectationsforyourbehaviorwhileonsupervisionandidentifythemiiiimttfnioolsnee
    ,                                                                                                             :àed
bfjfilàâtionofficerstokeepinfonued,repol'ttothecourtabout,andbringaboutimprovementsinyourcondtlc'
'. '.                                                                               .
                                                                                                  tandcbpàition. )..
                                                                                                       .               .
                                                                                                                . .. . . ..   .



 1sYoumustrepol'ttotheprobationofficeinthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hourjofyouf
rel'
.  eas
     'efrom imjrisonment,unlesstheprobationofficerinstructsyoutorepol'
                                                                     ttoadifferentprobationofficeorwithinad
                                                                                                       .  ai
                                                                                                           ;.f
                                                                                                            .
                                                                                                             f
                                                                                                             .ere
                                                                                                                .,n
                                                                                                                  ttime
frame.                                                                                                                  ..
).Xfterinitiallyreportingtotheprobationoffice,youwillreceiveinstructionsfrom thecoul'
                                                                                    tortheprobationofficerabùt'
                                                                                                              lthdw and
Qhenyoumustreporttotheprobationofticer,andyoumustreporttotheprobationofficerasinstructed.               .
3.v(5umustùotkliowinglyleavethefederaljudicialdistrictwhereyouareauthorizedtoresidewithoutfirstgettingpenmissionfrom
thec'
    ouh ortheprobation officer.
4'.#oumustanswertruthfullythequestionsasked by yourprobation ofticer.
!.You mustliveataplaceapproved bytheprobation oftk er.lfyouplanto changewhereyouliveoranything aboutyourliving
arrangeinents(suchasthepeopleyoullvewith),youmustnotifytheprobationofficeratleast10daysbeforethechange.lfhotifying
theprobaiion officerin advanceisnotpossibleduetounanticipatedcircum stances,you mustnotifytheprobation officerwilhin 72
hnufsofbecom ing awareofachangeorexpectedchange.                                                                 '
6.Youmustallow theprobation officertovisityouatany thueatyourhomeorelsewhere,andyou mustpenmittheprobationofficer
to takeany itemsprohibited bytheconditionsofyoursupelwision thatheorsheobservesinplain view.
'
1.Youmustworkfulltime(atleast30hotlrsperweek)atalawfultypeofemployment,unlesstheprobationofticerexcusesyoufrom
doing so.lfyou donothavefull-timeemploymentyoumusttry totind full-tim eemploym ent,unlesstheprobation offiderexcuses
fou'
   from doingso.Ifyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourpositionoryourjob
responsibilities),youmustnotifytheprobationofficeratleast10daysbeforethechange.Ifnotifyingtheprobationofticeratleast10
daysin advance isnotpossibleduetounanticipated circumstances,you mustnotifythe.probationofficerwithin 72hpup of .
bççgmingawareofachangeorexpectedchange.                                                                ,.       '
j,Y oylm ustnotcom m unicateorinteractwithsomeoneyoulcnow isengagedincriminalactivity.lfyouknow s
        .                                                                                       'omeonehasbeen
con
  'victedofaYelony,youmustnotknowinglycommunicateorinteractwiththatpersonwithoutfirstgettingthepermissionofthe
probation ofticer.
9.If@ouarearrested orquestionedby a1aw enforcementofficer,youmustnotifytheprobation officerwithin 72hours.                        ...
 10.Youmustnotown,possess,orhaveaccesstoafirearm,ammunition,destructivedevice,ordangerousweapon(i.e.,anythingthat
wasdesigned,orwasmodifiedfor,thespecificpurposeofcausingbodilyinjuryordeathtoanotherpersonsuchasnunchakusor
tasers).
11.You mustnotactormakeany agreementwitha1aw enforcementagency toactasaconfidentialhuman sourceorinformant
withputf'
        lrstgetting thepermission ofthecourt.                                                    '
l2.lftheprobationofficerdeterminesthatyouposearisktoanotherperson(includinganorganization),theprobationofficermay
requireyoutonotify theperson abouttherisk andyoumustcomply withthatinstruction.Theprobation officermay contactthe
Personandconfirm thatyouhavenotiftedthepersonabouttherisk.
13.Youmustfollow theinstructionsoftheprobation officerrelatedto theconditionsofsupervision.

U.S.Probation O ffice Use O nly
 '
..              .



A U .S.probation oftiterhasinstructedm eon theconditionsspecifiedby thecourtandhasprovidedm ew ith awrittencopy ofthis
ju'
  dgmentconiainingtheseconditions,1understandadditionalinfonuationregardingtheseconditionsisavailableat
w ww.flsn.uscourts.cov.      .

    D efendant's Signature                                                              D ate
  Case 0:21-cr-60039-AHS Document 107 Entered on FLSD Docket 07/20/2022 Page 5 of 8
'AO 2458 ('
          Rev.FLSD 2/20)JudgmentinaCriminalCase                                           Judgment- Page5 of8

D EFENDANT:            SHANTERJA BARNES
CAS: NUM BER:          0:21-CR-60039-AHS(1)
                            SPE C G L C O N D IT IO N S O F SU PER V ISIO N
Adam W alsh ActSearch Condition:Thedefendantshallsubmitto theU.S.Probation Officerconducting
périodictmannolmced searchesofthedefendant'sperson,property,house,residence,vehicles,papers,
cyihputerts),otherelectroniccommunicationordatastoragedevicesormedia,includeretrievalandcopyingof
a11datafrom thecomputerts)andanyinternalorexternalperipheralsand effectsatany time,withorwithout
warrqntby any 1aw enforcementorprobation offcerwith reasonablesuspicion concerning uplaw fulconductor
aviolation ofacondition ofprobation orsupervisedrelease.The search m ay includetheretrievaland c'
                                                                                                ppying
o?al1datafrom thecomputerts)andanyinternalorexternalperipheralsto'
                                                                 ensurecompliancewithother
stlpervision conditionsand/orremovalofsuch equipmentforthepurpose ofcohducting amorethorough
inspection;andtohaveinsialled onthedefendant'scomputerts),atthedefendant'sexpense,anyhardwàreor
poftware system sto m onitorthedefendant'scom puteruse.
.J .


AngerControl/Dom esticViolence:Thedefendantshallparticipatein an approved treatm entprogram for
angercontrol/domesticviolence.Participation m ay includeinpatient/outpatienttreatment.The defendantwill..
contributetothecostsofservicesrendered(co-payment)basedonabilitytopayoravailability ofthirdparty
paym ent.

Asjociation Restriction:Thedefendantisprohibited from associatingwith co-defendantCleon Kirlew while
ùn supervisedrelease.
Com puterPossession Restriction:Thedefendantshallnotpossessoruseany computer;exceptthatthè
defendantmay,with thepriorapprovaloftheCourqusea computerin connection with authorized employm ent.

DataEncryption Restriction:Thedefendantshallnotpossessoruseany dataencryption techniqueor
Prctgrnm .
Disclosure ofTelephoneRecords:Thedefendantshallprovidea11personal/businesstelephonerecordstothe
             .

U.S.Probation Officeruponrequest.Further,thedefendantshallprovidetheU.S.Probation Officerwritten
authorization to requestarecord ofa1lthedefendant'soutgoing orincom ing telephonecallsfrom any telephone
serviceprovider.

Ep ployer C om puter R estriction D isclosure:The defendantshallperm itthird party disclosure to any
empioyerorpotentialemployer,concefningany computer-relatedrestrictionsthatareimposedtlponthe
bèfendant.
                                                                                               '         .
FiqàncialDisclosureR equirem ent:The defendantshallprovide completeaccessto financialinfôirfiatipn, T,       .

including disclosureofa1lbusinessand personalfinances,to theU.S.Probation Officer.

M entalH ealth Treatm ent:Thedefendantshallpm icipate in an approved inpatient/outpatientm entalhealth
treasmeptprogram.Thedefendantwillcontributetothecostsofservicesrendered(co-payment)basedon
ability topay oravailability ofthird pal'typaym ent.
     Case 0:21-cr-60039-AHS Document 107 Entered on FLSD Docket 07/20/2022 Page 6 of 8
                                                                                                        .          . .
                                                                                              .   ..         .   ' ..
    AU V5BtRev.FLSD2/20)JudgmentinaCriminalCase                                          Judgment--Page6 of8

DEFENDANT:              SHANTERIA BARNES
UASENUM BER:            0:21-CR-60039-AHS(1)

NoContactwithM inorsin Employment:Thedefendantshallnotbeemployedinajobrequiringcontactwith
chitdrenundertheageof18orwiththevictim .
     '
.

No lnvolvem entin Youth O rganizations:Thedefendantshallnotbe involved in any children'soyyouth
organization.

No. N ew DebtRestriction:The defendantshallnotapply for,solicitorincurany furtherdebt,includèd butnot
lipited to loans,linesofcreditorcreditcard charges,eitherasaprincipalorcosigner,asan individualor            .

through any cop orateentity,withoutfirstobtaining perm ission from theUnited StatesProbation Officer.':,

NoUnsupervised Contactwith M inors:Thedefendantshallhaveno unsupervised,personal,mail,telephone,
orcomputercontactwith children/m inorsundertheage of 18 orwith thevictim .

Perm issibleSearch:The defendantshallsubm itto asearch ofherperson orproperty conducted in a reasonable. .
                                                                                                                         '

màlm erand atareasonabletim eby theU.S.Probation Officer.

Sex OffenderRegistration:Thedefendantshallcom ply with therequirem entsofthe Sex Offender                                .
RegistrationàndNotificationAct(42 U.S.C.j16901,etseq.)asdirectedbytheprobationofscer,theBu'reauof
Prisons,orany statesex offenderregistration agency in which he orshe resides,works,isa studeqt,orWas
convicted ofaqualifying offense.

Sex OffenderTreatm ent:Thedefendantshallparticipatein asex offendertreatm entprogram to include
psychologicaltesting andpolygraph exam ination.Participation m ay includeinpatient/outpatienttreatment,if
deemednecessarybythetreatmentprokider.Thedefendantwillcontributetothecostsofservicesrendered(:0-
payment)basedonabilitytopayoravailability ofthirdpartypayment.
SubstanceAbuseTreatm ent:Thedefendantshallparticipate in an approved treatmentprogram fordrug
and/oralcoholabuse and abideby al1supplem entalconditionsoftreatment.Participation m ay include
inpatient/outpatienttreatment.Thedefendantwillcontributetothecostsofservicesrendered(co-payment)
based on ability topay oravailability ofthirdparty payment.

Unpaid Restitution,Fines,orSpecialAssessm ents:Ifthe defendanthasany unpaid am ountofrestitution,
fines,orspecialassessm ents,thedefendantshallnotifytheprobation officerofany m aterialchangein the
defendant'seconomiccircum stancesthatmightaffectthedefendant'sability to pay.
 Case 0:21-cr-60039-AHS Document 107 Entered on FLSD Docket 07/20/2022 Page 7 of 8
A0 245B:(Rev.FLSD 2/20)JudgmentinaCriminalCase                                                            Judgment--Page7 of8

DEFENDANT:               SHAN TERIA BARNES
CXSENUMBER:              0:21-CR-60039-AHS(1)
                                   C R IM IN A L M O N E TA R Y PEN A L TIES
    Thedefendantmust a thetotalcriminalm oneta enaltiesunderthescheduleof a ments a e.
     .

                . Assessm ent          R estitution        Fine     AVA A Assessm ent* JVTA Assessm entWfr
TOTALS                $20000                   $ 00        $.00

IZI Thede'tenuinationofrestitutionisdeferreduntil9/22/2022at12:00PM.AnAmendedludgmentinaCriminalCt zyc
    (AO245C)willbeenteredaftyrsuchdetermination.
IZ Thedefendantmustmakerestitmion(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
         Ifthedefendantmakesapartialpayment,each payeeshallreceivean approximatelyproportionedpayment.However,pursuantto 18U.S.C.
         j3664(i),a11nonfederalvictimsmustbepaidbeforetheUnitedStatesispaid.


IJ Restitutionamountorderedpursuanttopleaagreement$
(7j Thedefendantmustpayinterestonrestitutionandafineofmorethan$2,500,unlesstherestitmionorfineispaidinfullbefore
    thefiReenthdayafterthedateofthejudgment,pursuantto 18U.S.C.j3612(9.A11ofthepaymentoptionsonthescheduleof
    paymentspagemaybesubjecttopenaltiesfordelinquencyanddefault,pursuantto18U.S.C.j3612(g).
Z Thecour'tdeterminedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
     EJ theinterestrequirementiswaivedforthe (  7j tine                      ((q) restimtion
            theinterestrequkementforthe                 ((() fme                         E(q
                                                                                           ) restitutkonismodifiedasfollows:
         Case 0:21-cr-60039-AHS Document 107 Entered on FLSD Docket 07/20/2022 Page 8 of 8
        AO'
          245B6(Rev.FLSD 2/20)JudgmentinaCriminalCase                                                             Judgment- Page8of8

    DEFE.NDANT:                     SHANTERIA BARNES                                                                                   .                ,

    CASE NUMBER:                    0:21-CR-60039-AHS(1)                                                                        ; L..
        1. .. L            .                                                                                                                                        '

                                                     SCH E D U L E O F PA Y M EN T S
    Havingassessedthedefendant'sability topay,paymentofthetotalcriminalmonetarypenaltiesisdueasfollows:

        A        2
                 . Lumpsum paymentsof$200.00dueimmediately,balancedue
    Itisor4eredthattheDefendantshailpaytotheUnitedStatesaspecialassessmentof$200.00forCountslsand2s,which
         '
    sha11beéueimmediately.SaidspecialassessmentshallbejaidtotheClerk,U.S.DistrictCourt'
                               .
                                                                                      .Paymentistobeaddressed                          - . '.               .
    t0:      ,
                                       .                                                                                                            l

                     U .S.CLERK 'S O FFICE
                     ATTN:FIN ANCIAL SECTION                                                                                               '
                     400 NORTIIM IAM IAVENUE,ROOM 8N09                                                                  '
                     M IA M I,FLOR ID A 33128-7716

    Unlessthecoulthasexpresslyorderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypenaltiesis
    dueduringimprisinment.A1lcriminalmonetm' y penalties,exceptthosepaymentsmadethroughtheFederalBureauofPrisons'
    InmateFinancialResponsibilityProgram,aremadetotheclerkofthecourt.

    Thedefendantshallreceiv? creditfora1lpaymentspreviouslymadetoward any criminalmonetarypenaltiesimposed.
        I
        ZI JointandSeveral
                 SeeaboveforDefendantandCo-DefendantNamesandCaseNumbers(încluding dep ndantnumber),TotalAmount,Jointand
                                                                                                                                                                '
                 SeveralAmount,andcorresponding payee,ifappropriate.                                                                            .               .

                                                                                                                                                                J
        (
        ZI Thedefendantshallforfeitthedefendant'sinterestinthefollowipgpropertytotheUnitedStates:
                 FO R FEITUR E ofthedefendant'sright,titleand interestin certain property isherebyordered consistentwith theplea
'
                 agreem ent.TheU nited Statesshallsubm ita proposed O rderofForfeiturewithin seven daysofthisproceeding.

    Paymentsshallbeappliedinthefollowinyorder:(1)assessment,(2)restitutionprincipal,(3)restimtioninterest,(4)AVAA assessment,(5)
    t'
     ineprincipal,(6)fineinterçst,(7)communityrestitution,(8)JVTA assessment,(9)penalties,and(10)costs,includingcostofprosecution
    and coul'
            tcosts.




    .                                                                                                                   .                                   '   ï
                                                                                                                                       .
        -.             .                                                                                            .       .   z;w.       . '.             ..-




                 '
                                           d                           .
